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 1   [All counsel listed on sig. page]

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                                    UNITED STATES DISTRICT COURT
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                                  NORTHERN DISTRICT OF CALIFORNIA
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                                         OAKLAND DIVISION
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12   IN RE COLLEGE ATHLETE NIL                     No. 4:20-cv-03919 CW
     LITIGATION
13
                                                   JOINT STIPULATION AND
14                                                 [PROPOSED] ORDER REGARDING
                                                   THIRD-PARTY PRODUCTIONS IN
15                                                 RESPONSE TO SUBPOENAS
16
                                                   Hon. Claudia Wilken
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 1            Pursuant to Northern District of California Civil Local Rule 7-12, Plaintiffs in the above-

 2   captioned action and Defendants National Collegiate Athletic Association (“NCAA”), Pac-12

 3   Conference (“Pac-12”), Big Ten Conference, Inc. (“Big Ten”), Big Twelve Conference, Inc. (“Big

 4   12”), Southeastern Conference (“SEC”), and Atlantic Coast Conference (“ACC”) (collectively,

 5   “Defendants”) (Plaintiffs and each Defendant is referred to herein as a “Party” and all Defendants

 6   together with Plaintiffs, the “Parties”), by and through their respective undersigned counsel of

 7   record, submit the following Stipulation and Proposed Order:

 8            WHEREAS, certain subpoenaed non-parties to this litigation, in connection with discovery in

 9   the litigation, have produced documents to the Parties;

10            WHEREAS, the Parties desire to have an efficient process for the exchange of documents

11   produced by non-parties;

12            WHEREAS, the Parties have met and conferred and agreed upon the terms of this Joint

13   Stipulation Regarding Third Party Productions in Response to Subpoenas (the “Stipulation”).

14            THEREFORE, THE PARTIES, THROUGH THEIR RESPECTIVE COUNSEL OF

15   RECORD, HEREBY STIPULATE, SUBJECT TO COURT APPROVAL, THAT:

16            1.       Beginning on the date that this Stipulation is entered, each Party will produce

17   documents subpoenaed by that Party (“the Subpoenaing Party”) to all of the other Parties in the case

18   on a rolling basis no later than two (2) weeks following production by the subpoenaed non-party,

19   unless the Subpoenaing Party explains in writing to the other Parties in that timeframe that

20   production will be delayed due to the size of the production, the amount of pre-production work

21   needed to complete production, or provides another good-faith reason that the production will be

22   delayed, in which case production will be made as soon as reasonably possible.

23            2.       Any Subpoenaing Party that receives formal responses and objections to a subpoena

24   or a production cover letter will produce those documents to all of the other Parties in the case no

25   later than two (2) weeks following receipt by the Subpoenaing Party.

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 1            3.       Subpoenaing Parties that have received document productions from subpoenaed non-

 2   parties, responses and objections to subpoenas, or production cover letters prior to the date that this

 3   Stipulation is entered will provide all produced documents, as well as any responses and objections

 4   and production cover letters, to all of the other parties in the case no later than fifteen (15) business

 5   days following the date of entry of this Stipulation.

 6            4.       For subpoenas served after the entry of this Stipulation, the Subpoenaing Party will

 7   produce any final agreements reached with subpoenaed parties to all other Parties summarizing what

 8   will be produced.

 9            5.       If a Subpoenaing Party receives a production from a subpoenaed non-party that lacks

10   bates numbers, the Subpoenaing Party will add bates numbers for ease of reference. The

11   Subpoenaing Party will produce to the other Parties two versions of the documents: the original

12   production without bates numbers, and the production with bates numbers added, within the

13   timelines outlined in paragraphs 1 and 3, supra. If a Subpoenaing Party receives a production from

14   an NCAA member institution or other subpoenaed non-party that bears a duplicate bates prefix to a

15   bates stamp already used in this litigation, that Party will add a unique bates prefix for ease of

16   reference, within the timelines outlined in paragraphs 1 and 3, supra.

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18   Dated: January 6, 2022                               Respectfully submitted,

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 1                                        E-FILING ATTESTATION

 2
              I, Steve W. Berman, am the ECF User whose ID and password are being used to file this
 3
     document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories
 4
     identified above has concurred in this filing.
 5

 6                                                          /s/ Steve W. Berman
                                                       STEVE W. BERMAN (pro hac vice)
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 1                                      [PROPOSED] ORDER

 2            PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 4         Date: January 6, 2022
                                                      THE HONORABLE CLAUDIA WILKEN
 5                                                    United States District Court Judge
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